         Case 4:11-cr-40037-SOH                        Document 1663  Filed 12/01/15                             Page 1 of 1 PageID #:
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(Use Date of Last Amended Judgment if Any)                                       Defendant’s Attorney


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                                              (Complete Parts I and II of Page 2 when motion is granted)




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